Case 6:04-cr-60060-RFD-PJH        Document 243      Filed 03/12/13    Page 1 of 4 PageID #:
                                         1036



                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                             LAFAYETTE DIVISION

 UNITED STATES                                   CIVIL ACTION NO. 4-CR-60060

 VERSUS                                          JUDGE DOHERTY

 CHRISTIE O. UDOH(02)                                   MAGISTRATE JUDGE
                                                        HANNA

                        MEMORANDUM RULING AND ORDER

       On June 16, 2012, the United States filed an application for the issuance of a Writ

 of Continuing Garnishment upon the criminal judgment entered against Defendant

 Christie Udoh in the captioned matter. The Judgment amount was $456,439.88, against

 which sum $4,955.02 has been credited, leaving a total balance due of $456,339.88. On or

 about July 7, 2012, the United States served the Writ of Continuing Garnishment, entered

 against the property of Defendant Udoh, upon The Mark Condominium Association, Inc.

 [Rec. Doc. 234] The writ calls upon the Association/garnishee to pay 25% of the cash

 value of wages earned by the defendant.

       On July 17, 2012, the Garnishee filed an Answer to Writ of Garnishment [Rec.

 Doc. 235], acknowledging that Christie Udoh (Debtor) is an employee of the Association,

 earning wages paid to her on a semi-monthly basis and acknowledging that the

 Association had reason to believe that it would be in possession of current wages of the

 debtor beginning July 25, 2012. The Association objected to the garnishment of those

 current wages, however, urging that they are exempt under Texas law. The court was
Case 6:04-cr-60060-RFD-PJH         Document 243       Filed 03/12/13     Page 2 of 4 PageID #:
                                          1037



 asked to review the referenced exemption as it issues further orders. [Rec. Doc. 235, pp.

 2-3]

        On July 23, 2012, the United States lodged objection to the answer of the

 garnishee pursuant to 28 U.S.C. §3205(c)(5), seeking a hearing on the issues presented.

 [Rec. Doc. 236, 237] The Motion for Hearing was denied, with the court declaring its

 intention to decide the issues on the brief of the involved parties. [Rec. Doc. 238]

 Although the Order allowed for the filing of any response to the Government’s

 objections, no further filings were made by the garnishee.

        The government urges that because the judgment at issue imposes criminal

 restitution, it may be enforced against all property or rights to property of the person

 fined, except in the limited circumstances listed in 18 U.S.C. §3613(a)(1). Further, the

 government correctly asserts that exemptions available under 28 U.S.C. §3014 do not

 apply to enforcement under the Mandatory Victims Restitution Act. 18 U.S.C.

 §3613(a)(2), and provisions of the Federal Debt Collection Procedure Act make clear that

 the FDCA “shall preempt State law to the extent such law is inconsistent with a provision

 of this chapter.” 28 U.S.C. §3003(d). Case law considering the issue has been consistent

 in holding that the MVRA authorizes the United States to use its civil enforcement

 powers to garnish a defendant’s property, notwithstanding that such benefits are generally

 inalienable under federal and state law. United States v. DeCay, 620 F.3d 534, 543 (5th

 Cir. 2010) (finding that the United States may use its civil enforcement powers to garnish


                                              -2-
Case 6:04-cr-60060-RFD-PJH          Document 243        Filed 03/12/13     Page 3 of 4 PageID #:
                                           1038



 a defendant’s retirement plan benefits, notwithstanding that such benefits are generally

 inalienable); United States v. Edward D. Jones & Co., L.P., 2011 WL 7025905, at *3,

 (E.D.Tx.Dec. 21, 2011) (finding an exemption from a federal criminal restitution

 judgment only applies when specified in 26 U.S.C. §63341). See also United States v.

 Salinski, 194 F.3d 1315 (6th Cir. 1999) (holding that a federal criminal defendant cannot

 use state exemptions to protect his assets) and United States v. Mitchell, 403 U.S. 190,

 205, 91 S.Ct. 1763, 29 L.Ed.2d 406 (1971) (“Th[e] language [of § 6334(c)] is specific

 and it is clear and there is no room in it for automatic exemption of property that happens

 to be exempt from state levy under state law.”). The Texas law relied upon and cited by

 the garnishee in the Answer to Writ of Garnishment acknowledges its preemption by

 federal law. Texas Civ. Prac. & Rem. Code §63.004; Texas Property Code §42.001(b)(1).

 Further, Texas Labor Code §61.018 authorizes the withholding or diversion of employee

 wages on order of a court of competent jurisdiction and/or authorization by federal law.

 The Mark Condominium Association, Inc. has not sought to challenge the jurisdiction of

 this court.

        Based on the foregoing, and the Court having reviewed the applicable federal and

 state laws referenced herein,




        1
         26 U.S.C. §6334 sets out the exemptions available to individual taxpayers under the IRS
 Code. Those exemptions are generally incorporated into the federal statute governing liens arising
 from criminal fines and restitution obligations. 18 U.S.C. §3613(a).

                                                -3-
Case 6:04-cr-60060-RFD-PJH            Document 243     Filed 03/12/13     Page 4 of 4 PageID #:
                                             1039



 IT IS ORDERED that pursuant to 28 U.S.C. §3205 and 15 U.S.C. §1673(a), Garnishee

 The Mark Condominium Association, Inc. and its successors or assigns pay into the hands

 of the United States Attorney, for each and every pay period that the defendant, Christie

 Udoh is employed by Garnishee and its successors or assigns and is due wages, the lesser

 of: (1) Twenty-five percent (25%) of Defendant’s disposable earnings; or

 (2) All amounts of Defendant’s disposable earnings in excess of thirty times the federal

 minimum wage, and that Garnishee and its successors or assigns continue said payments

 until the debt to Plaintiff is paid in full or until the Garnishee and its successors or assigns

 no longer has custody, possession or control of any property belonging to Defendant or

 until further order of this Court.

        Payments to the United States Attorney under this garnishment order shall be made

 by Garnishee and its successors or assigns’ check, no less frequently than monthly,

 payable to the United States Clerk of Court, and mailed to the Office of the United States

 Clerk, 300 Fannin Street, Suite 1167, Shreveport, LA 71101, or to such other address as

 Garnishee and its successors or assigns is directed in writing by the United States

 Attorney’s Office.

        Signed at Lafayette, Louisiana this 12th day of March, 2013.



                                             _____________________________________
                                             Patrick J. Hanna
                                             United States Magistrate Judge


                                               -4-
